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                          UNITED STATES DISTRICT COURT
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                        CENTRAL DISTRICT OF CALIFORNIA
10
11 ACQUISITION MANAGEMENT,                  CASE No. 2:19-CV-06814-DFS-KS

12 INC.,                                    [Proposed]

13                                          ORDER GRANTING STIPULATION
                   Plaintiff,               TO FILE AMENDED COMPLAINT
14                                          PURSUANT TO FED. R. CIV. P.
          v.                                RULE 15(a)(2)
15
16 RETREAVER, INC., and DOES 1-             Date of Personal Service: 8/11/2019
                                            Initial Response Was Due: 9/3/2019
17 5, inclusive,                            Extended Response Deadline: 10/3/2019
                                            Deadline To File Amendment:10/24/2019
18                 Defendants.
19        The Court, having considered Plaintiff Acquisition Management, Inc.,
20 (“Plaintiff”) and Defendant Retreaver, Inc.’s (“Defendant”) Stipulation To File
21 Amended Complaint Pursuant To Fed. R. Civ. P. Rule 15(a)(2), and finding good
22 cause therefor,
23        IT IS HEREBY ORDERED that Plaintiff shall file an Amended Complaint
24 by not later than October 24, 2019, to which Defendant shall file a Response within
25 twenty-one (21) days thereafter.
26
     DATED:_______________________               _______________________
27
                                                 The Honorable Dale S. Fischer
28                                               United States District Judge
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